          Case 3:11-cr-03486-JAH                      Document 299                   Filed 06/05/12             PageID.860              Page 1 of 3


     ~AO 245B (CASD) (Rev, 8111)    Judgment in a Criminal Case
                 Sheet I
                                                                                                                FILED
                                               UNITED STATES DISTRICT Cd0~ -5 AM 8: 21
                                                   SOUTHERN DISTRICT OF CALIFORNIAi!',. ;
                                                                                                               ';l!H

                      UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                         v.                                          (For Offenses Commi,tted On or After Novembl¥t~Ht987)

                             Matthew McIntyre -12                                    Case Number: ll-cr-03486-JAH-12                 ~
                                                                                     Russell Sheridan Babcock
                                                                                     Defendant's Attorney
     REGISTRATION NO. 28132298

     o
     THE DEFENDANT:
     ~ pleaded guilty to count(s) One-count superseding information,

     o      was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            after a plea of not guilty.
            Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
     Title & Section                          Nature of Offense                                                                            Number(s)
18:371                                 Conspiracy to Commit Wire Fraud                                                                     I




       The defendant is sentenced as provided in pages 2 through                 3         of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.
 o   The defendant has been found not guilty on count(s)
                                                            -----------------------------------------------------
 ~              ..:..:.......:.:......:.:.~_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is
                                                                               arel8J dismissed on the motion of the United States.
 181 Assessment: $100,00,


 181 No fine                                        o   Forfeiture pursuant to order filed
                                                                                              ----------------              , included herein.
         IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs. and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the defendant's economic circumstances.

                                                                              Ma 29,2012




                                                                                NITED STATES DISTRICT JUDGE

                                                                                                                                         ll-cr-03486-JAH-12
       Case 3:11-cr-03486-JAH                     Document 299                Filed 06/05/12              PageID.861              Page 2 of 3


AO 245B (CASD) (Rev, 8111) Judgment in a Criminal Case
           Sheet 2 -- Probation
                                                                                                            Judgment Page        2     of
DEFENDANT: Matthew McIntyre -12                                                                       D
CASE NUMBER: ll-cr-03486-JAH-12
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:
 Three years.

The defendant shall not commit another federal, state. or local crime.
For offenses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a ~ontrolled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug te~ts
thereafter as determined by the court. Testing requirements will not exceed submission of more than_4_drug tests per month durmg
the term of supervision, unless otherwise ordered by court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a lire arm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant. pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000. pursuant to 18 USC sections 3563(a)(7) and 3583(d),
       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U,S,c. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
        of each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days priorto any change in residence or employment;
  7)    the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or admini ster any controlled
        substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
         the defendant's compliance with such notification requirement.


                                                                                                                                 11-cr-03486-JAH-12
          Case 3:11-cr-03486-JAH                       Document 299          Filed 06/05/12            PageID.862            Page 3 of 3


       AO 245B (CASD) (Rev. 8/11) Judgment in a Criminal Case
                  Sheet 3 -- Special Conditions
                                                                                                         Judgment-Page _ _3_ of _......;;3:..-_ _
       DEFENDANT: Matthew McIntyre -12
       CASE NUMBER: ll-cr-03486-JAH-12




                                             SPECIAL CONDITIONS OF SUPERVISION
~ Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

o   If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer with 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
o   Not enter the Republic of Mexico without written permission of the Court or probation officer.
~ Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o   Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
o   Provide complete disclosure of personal and business financial records to the probation officer as requested.
o   Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
o   Seek and maintain full time employment and/or schooling or a combination of both.
o   Resolve all outstanding warrants within               days.
o   Complete           hours of community service in a program approved by the probation officer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

o   Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

~ Comply with the conditions of the Home Confinement Program for a period of 60 days months and remain at your residence except for
  activities or employment as approved by the court or probation officer. Wear an electronic monitoring device and follow procedures
  specified by the probation officer. Pay the total cost of electronic monitoring services, or a portion if deemed appropriate by the probation
  officer.




                                                                                                                                ll-cr-03486-JAH-12
